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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                           AUGUSTA DIVISION




UNITED STATES OF AMERICA


     V.                                      CR 113-220-7


HUBER ROMERO




                               ORDER




     Presently before the Court is Defendant's pro se motion for

compassionate release because he has terminable cancer; Defendant

has attached a memorandum from his place of imprisonment stating

that he has less than 12 months to live.


     Defendant pled guilty to conspiracy to distribute and possess

with intent to distribute 50 grams or more of methamphetamine.           He

was sentenced to serve 270 months in prison on August 14, 2014.

This sentence was later reduced to 216 months.       It is worth noting

that Defendant is an illegal alien subject to deportation upon his

release.   He is currently housed at the Federal Medical Center in

Butner, North Carolina     C'FMC Butner"), and was admitted to the

Comfort Care Unit on December 18, 2018.

     On December 21, 2018, the President signed the First Step

Act, which modified 18 U.S.C. § 3582(c)(1)(A) to allow a defendant

to move a federal district court for compassionate release "after

the defendant has fully exhausted all administrative rights to
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appeal a failure of the Bureau of Prisons to bring a motion on the

defendant's behalf or the lapse of 30 days from the receipt of

such a request by the warden of the defendant's facility, whichever

is earlier."


      Through his motion. Defendant has failed to show when and if

he has requested his release from the Warden of FMC Butner or that

he   has    otherwise     exhausted     his   administrative      remedies.^


Accordingly, Defendant's motion to reduce sentence (doc. 515) is

premature and is therefore DENIED.

      ORDER ENTERED at Augusta, Georgia, thisC>?              day of March,
2019.




                                          J. Ri^WpSl^ALL, CHIEF JUDGE
                                          UNITED ^ATES DISTRICT COURT
                                          ST5UTHERN DISTRICT OF GEORGIA




^ Upon inquiry, the United States Probation Office has been informed that
Defendant's request for compassionate release with the Warden of FMC Butner is
being assessed by his case manager at this time.
